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                                                                                            April 2, 2025

                Re:     Scarlett Pavlovich v. Neil Gaiman and Amanda Palmer
                        Case No. 25CV00078
                        The Disposition of Amanda Palmer in this Matter

        Your Honor,

        Pursuant to the Court’s directive, we have filed proof of service on Defendant Amanda
Palmer. To avoid inadvertently misleading the Court and Mr. Gaiman’s counsel via that filing into
believing that litigation against Ms. Palmer will proceed in this District, we are also submitting this
letter.

        As the Court is aware, Plaintiff initiated litigation against Ms. Palmer in each of Wisconsin,
New York, and Massachusetts in order to preserve Palintiff’s claims against Ms. Palmer in light of
the imminent running of any three-year statutes of limitations and uncertainty about where Ms.
Palmer was subject to personal jurisdiction. After service of the Summons and Complaint in this
action (and the others), Ms. Palmer’s counsel informed us that Ms. Palmer intended to litigate in the
District of Massachusetts and would not contest personal jurisdiction there, necessitating (and
enabling) the dismissal of the claims against Ms. Palmer as filed in New York and this District.
Because a second Rule 41(a) dismissal of the same claims is, by rule, with prejudice unless the
defendant stipulates to the contrary, however, Plaintiff cannot simply file unilateral dismissals of the
claims. We have thus asked Ms. Palmer’s counsel to direct us as to in which district we should file a
unilateral Rule 41 dismissal and in which district her counsel will appear for a stipulated dismissal.
See Exhibit 1 hereto. As soon as we receive that direction, we will dismiss this action as against Ms.
Palmer.



                                                     Sincerely

                                                     Dylan M. Schmeyer
                                                     KAMERMAN, UNCYK, SONIKER &
                                                     KLEIN P.C.

                                                     By: /s Dylan M. Schmeyer

cc: All counsel of record by electronic notice and filing
